Fill in this information to identify the case:

            Breault Research Organization Inc
Debtor Name __________________________________________________________________


                                        __________
United States Bankruptcy Court for the: _______      District
                                                District      of Arizona__________
                                                         of ________

                                                                                                                    Check if this is an
Case number: 4:19-bk-08754-BMW
             _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                December 2019
                     ___________                                                              Date report filed:      01/15/2020
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                   Optical Eng. serv/software
Line of business: ________________________                                                    NAISC code:             5734-01,5413-30,5112-10
                                                                                                                      ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                         ____________________________________________

Original signature of responsible party    ____________________________________________

Printed name of responsible party          ____________________________________________


             1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No       N/A
         If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                                     
    2.   Do you plan to continue to operate the business next month?                                                                      
    3.   Have you paid all of your bills on time?                                                                                         
    4.   Did you pay your employees on time?                                                                                              
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                                  
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                               
    7.   Have you timely filed all other required government filings?                                                                     
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                                  
    9.   Have you timely paid all of your insurance premiums?                                                                             
         If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                                   
    11. Have you sold any assets other than inventory?                                                                                    
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                             
    13. Did any insurance company cancel your policy?                                                                                     
    14. Did you have any unusual or significant unanticipated expenses?                                                           ✘
                                                                                                                                           
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                               
    16. Has anyone made an investment in your business?                                                                                   
Official Form 425C                         Monthly Operating Report for Small Business Under Chapter 11                        page 1
Debtor Name   Breault Research Organization Inc
              _______________________________________________________                             4:19-bk-08754-BMW
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                                  
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                                    


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                    57512
                                                                                                                             $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                               157886
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                             -134905
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                         +          22981
                                                                                                                             $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                                    80493
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              =   $ __________

        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                               3268
                                                                                                                             $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
Debtor Name   Breault Research Organization Inc
              _______________________________________________________                                4:19-bk-08754-BMW
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                             205994
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees
                                                                                                                                          12
                                                                                                                                 ____________
    26. What was the number of employees when the case was filed?
    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                          12
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                            0
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                               0
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                       0
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                      0
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                              138400
                                        $ ____________           –         157886
                                                                     $ ____________
                                                                                               =          -19486
                                                                                                   $ ____________
    32. Cash receipts
                                              145000                       134905              =          10095
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                               -6600             –          22981              =          -29581
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                             132000
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                      122000

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                        10000




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                             page 3
Debtor Name   Breault Research Organization Inc
              _______________________________________________________                             4:19-bk-08754-BMW
                                                                                      Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

       38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✘
       39. Bank reconciliation reports for each account.


       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


       41. Budget, projection, or forecast reports.


       42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                          page 4
     Official Form 425 C
     Monthly Operating Report for Small Business Under Chapter 11
     EXCEL EXHIBITS & INSTRUCTIONS

1    Enter case information in the cells below.
     Data entered in these cells is used is linked to other worksheets.

     Case Name:                                                               Breault Research Organization Inc
     Case Number:                                                                 4:19-bk-08754-BMW
     Petition Date:                                                                     07/16/19
     First MOR Date:                                                                    07/31/19
     Current MOR Date:                                                                  11/30/19
     DIP Operating Account Bank                                               Alliance Bank of Arizona
     Operating Account #                                                                  6379
     Other Account #, if applicable                    Tax Acct                           9064
     Other Account #, if applicable                    Payroll Acct                       386
     Other Account #, if applicable



2    Form 425C Questionnaire
         a.    Questions 1-9. If answered No, provide written explanation in the box with the number corresponding to the question number on Exhibit A.
         b.    Questions 9 -18. If answered No, provide written explanation in the box with the number corresponding to the question number on Exhibit B.

3    Bank Reconcilation Worksheet
         a.    Enter ending balance from current month bank statement(s) in cells F14 to K14.
         b.    Identify and list all Deposits in Transit amounts for each account beginning in row 22.
         c.    Identify and list each Outstanding Check amount for each account beginning in row 48.
         d.    Verify balance(s) in row 16 equal account book balances on the current MOR date.
         e.    Enter the total amount of deposits in transit from the previous month's bank reconciliation
               clearing in the current month's statement.
         f.    Enter the total amounts of outstanding checks from the previous month's bank reconciliation
               where cleared in the current month's statement.

4    Cash Activity Summary Worksheet
         a.       Classify and summarize bank deposits into each of the applicable categories listed in Exhibit C&D (or attach your own schedule) and and enter into the appropriate worksheet cells
         b.       Classify and summarize bank disbursement into each of the applicable categories listed in Exhibit C&D (or attach you own schedule) and and enter into the appropriate worksheet cells.
         c.       Verify that the ending bank account balances in row 46 agree to the bank statement and ending balance in the bank reconciliation
                  in row 13.
         d.       Enter cash on hand reported (aka book balances) at the end of the previous month in the appropriate cells in Row 50.
         e.       Verify amount in Cell G50 equals the cash reported in the previous month's balance sheet.
         f.       Enter total in row 50 as total opening balance of all accounts in Line 19 of the MOR.
         g.       Enter total in row 55 as total cash receipts in Line 20 of the MOR.
         h.       Enter the total in row 60 as total cash disbursments in Line 21 of the MOR.
         i.       Enter the total in row 62 as total cash flow in Line 22 of the MOR.
         j.       Enter the total in row 64 as cash on hand at the end of the month Line 23 of the MOR.
         k.       Enter the total in row 70 as total professional fees paid this month in Line 28 of the MOR.
         l.       Enter the total in row 74 as total other professional fees paid this month in Line 30 of the MOR.

5    Exhibit E
                  Attach your internally prepared schedule of post-petition liabiities or,
                  List liabilities and unpaid bills in Exhibit E.
                  Carry forward total to Line 24 of Form 425 C.
6    Exhibit F
                  Attach your internally prepared schedule of post-petition liabiities or,
                  List Amounts due from others on Exhibit F.
                  Carry forward the total to Line 25 of Form 425 C.

7    Balance Sheet Worksheet
                Copy Balance Sheet Balances for all historical reports from previous months Balance Sheet worksheet.
                Enter amounts from the Debtor's internally prepared balance sheet into Exhibit G in the category
                which most closely corresponds to the debtor's balance sheet.

8    Income Statement Worksheet
                Copy Income Statement Balances for all historical reports from previous months Income Statement worksheet.
                Enter amounts from the Debtor's internally prepared income statement into Exhibit H in the category
                which most closely corresponds to the debtor's income statement.

9    Cash Flow Worksheet
                Copy historical amounts appearing in the previous month's cash flow worksheet
                into the corresponding months in the current months cash flow worksheet.

10   Cash Activity Summary Worksheet
                  Enter the total in row 72 as total professional fees paid in this case in Line 29 of the MOR.
                  Enter the total in row 76 as total other professional fees paid in this case in Line 31 of the MOR.

11   Final Checking
                 Verify that the resulting total in Exhibit E agrees to total post petition liabilities in in the Balance Sheet.
                 Verify that the resulting total in Exhibit F agrees to total receivables in the Balance Sheet.
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Exhibit A
Case Name:                   Breault Research Organization Inc
Case Number:       4:19-bk-08754-BMW
Report Date:             12/31/19

                                                            Questionnaire Explanations

          Question 1 Explanation - If Answered No                               Question 6 Explanation - If Answered No




          Question 2 Explanation - If Answered No                               Question 7 Explanation - If Answered No




          Question 3 Explanation - If Answered No                               Question 8 Explanation - If Answered No




          Question 4 Explanation - If Answered No                               Question 9 Explanation - If Answered No




          Question 5 Explanation - If Answered No
Our tax returns have not been filed due to change in accountant
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Exhibit B
Case Name:                   Breault Research Organization Inc
Case Number:       4:19-bk-08754-BMW
Report Date:             12/31/19

                                       Questionnaire Explanations

     Question 10 Explanation - If Answered Yes              Question 15 Explanation - If Answered Yes




     Question 11 Explanation - If Answered Yes              Question 16 Explanation - If Answered Yes




     Question 12 Explanation - If Answered Yes              Question 17 Explanation - If Answered Yes




     Question 13 Explanation - If Answered Yes              Question 18 Explanation - If Answered Yes




     Question 14 Explanation - If Answered Yes
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Bank Accounts Reconciliation
Case Name:                       Breault Research Organization Inc
Case Number:             4:19-bk-08754-BMW
Report Date:                   12/31/19

                                                 Pre-Petition                         DIP BANK ACCOUNTS
Account Type                                      Account(s)     Operating      Other        Other      Other        Total
Last 4 Digits of Account Number                                    6379         9064          386         0

Ending Balance - Bank Statement                                      $80,533         $0          $0                   $80,533
Add: Deposits in Transit ("DIT's)                           $0            $0         $0          $0             $0         $0
Less: Outstanding Checks:                                   $0          ($40)        $0          $0             $0       ($40)
Ending Balance - Books                                      $0       $80,493         $0          $0             $0    $80,493

Prior Months' DIT's in Bank Deposits                                     $0          $0          $0                        $0
Prior Months' O/S Checks in Bank Disbursements                         $520          $0          $0                      $520
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Summary of Cash Activity for All Accounts
Case Name:                                                   Breault Research Organization Inc
Case Number:                                          4:19-bk-08754-BMW
Report Date:                                                12/31/19

                                                       Pre-Petition               DIP BANK ACCOUNTS
Account Type                                            Account(s)    Operating     Tax       Payroll   Other     Total
Last 4 Digits of Account Number                                         6379        9064       386

Beginning Bank Statement Balance                                      $58,032                                   $58,032

CASH RECEIPTS - Exhibit C
  Sales/Receipts
  Accounts Receivable - Postpetition                                  $118,103                                  $118,103
  Other Receipts                                                      $39,783                                   $39,783
  Payments From Insiders (Excl. Loans and Capital)
  Transfers From Other Accounts                                                   $18,450     $93,744           $112,194
  Proceeds From Sale Of Assets
  Accounts Receivable - Prepetition
  Loans and Advances
  Capital Contributions

   TOTAL BANK DEPOSITS                                                $157,886    $18,450     $93,744           $270,079

CASH DISBURSEMENTS - Exhibit D
  Cash Withdrawals and Payments
  Operating Disbursements                                             -$41,641               -$93,744           -$135,385
  Professional Fees - excluding reorg costs
  Other Disbursements
  Transfers To Other Accounts                                         -$93,744    -$18,450                      -$112,194
  Owner Draws/Advances
  Capital Expenditures
  Prepetition Debt Service Payments (PITI)
  Debt Service Payments (PITI)
  Reorganization Disbursements
    Attorney Fees
    Accountant Fees
    US Trustee Quarterly Fees
    Bankruptcy Court Costs
    Other Reorg Costs
  TOTAL BANK DISBURSEMENTS                                            -$135,385   -$18,450   -$93,744           -$247,578

Ending Bank Statement Balance                                         $80,533                    $0             $80,533

2. Summary of Cash Activity for All Accounts

Line 19. Total Opening Balance of all accounts                        $57,512                                   $57,512

Total Bank Deposits, excluding transfers                              $157,886                                  $157,886
Less: Deposits in Transit - Beginning of Period
Plus: Deposits in Transit - End of Period
Line 20. Total Cash Receipts                                          $157,886                                  $157,886

Total Bank Disbursements, excluding transfers                         -$41,641               -$93,744           -$135,385
O/S Checks Cleared - Beginning of Period                                $520                                      $520
Outstanding Checks - End of Period                                      -$40                                       -$40
Line 21. Total Cash Disbursements                                     -$41,161               -$93,744           -$134,905

Line 22. Net Cash Flow                                                $116,725               -$93,744           $22,981

Line 23. Cash on Hand at End of Month                                 $174,237               -$93,744           $80,493

Line 28. Amount paid this month for professional
fees for this case

Line 29. Amount paid for professional fees for this
case

Line 30. Amount paid this month for other
professional fees.

Line 31. Amount paid for other professional fees for
this case
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Cash Activity - Operating Account
Case Name:                                                                                           Breault Research Organization Inc
Case Number:                                                                                         4:19-bk-08754-BMW
Report Date:                                                                                            12/31/19

                                                                                                                                                                                                             Operating Account Activity
                                                                                                                           1             2
                                                                                                                                    Accounts             3               4
                                                                                                                                                                    Payments          5            6
                                                                                                                                                                                               Proceeds        7
                                                                                                                                                                                                            Accounts        8             9           10
                                                                                                                                                                                                                                                    Cash          11
                                                                                                                                                                                                                                                              Operating       12        13
                                                                                                                                                                                                                                                                                      Other          14             15
                                                                                                                                                                                                                                                                                                                   Owner       16
                                                                                                                                                                                                                                                                                                                             Capital       17
                                                                                                                                                                                                                                                                                                                                      Pre-Petition     18
                                                                                                                                                                                                                                                                                                                                                      Post           19 -
                                                                                                                                                                                                                                                                                                                                                                  Reorg           20 -
                                                                                                                                                                                                                                                                                                                                                                                Reorg      21- US
                                                                                                                                                                                                                                                                                                                                                                                        Reorg          22 -
                                                                                                                                                                                                                                                                                                                                                                                                     Reorg         23
                                                                                                                     Sales/Receipt Receivable          Other           From                   from Asset   Receivable     Loans and   Capital    Withdrawals Disbursment Profession Disbursme    Transfers       Draws and Expenditur    Debt        Petition     Attorney    Accountant Trustee      Court      Reorg -
                     Category             Date                            Description                  Amount              s       Post-Petition      Receipts       Insiders    Transfers IN    Sales     Pre-Petition   Advances Contributions     and          s        al Fees     nts          Out          Advances      es       Service       Debt          Fees         Fees     Fees       Costs        Other       Total


11.Operating-Disbursements                12/6/2019   check 29393 - Advanced Coordinate Technology       ($520.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00       ($520.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00    ($520.00)
11.Operating-Disbursements                12/4/2019   check 29397 - Paul McClellan                        ($34.88)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($34.88)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($34.88)
11.Operating-Disbursements               12/11/2019   check 29398 - Clements Agency LLC                ($6,685.23)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00     ($6,685.23)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($6,685.23)
11.Operating-Disbursements               12/18/2019   check 29400 - EZ Systems                            ($36.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($36.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($36.00)
11.Operating-Disbursements               12/12/2019   check 29401 - EDS Dental                           ($117.97)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00       ($117.97)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00    ($117.97)
11.Operating-Disbursements               12/27/2019   check 29402 - Hofstadter Analytical Services     ($1,694.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00     ($1,694.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($1,694.00)
11.Operating-Disbursements               12/24/2019   check 29403 - SPIE                                 ($650.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00       ($650.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00    ($650.00)
11.Operating-Disbursements               12/23/2019   check 29404 - ADP LLC                              ($486.91)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00       ($486.91)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00    ($486.91)
11.Operating-Disbursements               12/19/2019   check 29405 - Level 3 Communications                ($79.21)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($79.21)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($79.21)
11.Operating-Disbursements               12/27/2019   check 29406 - Sharp Business Systems               ($189.17)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00       ($189.17)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00    ($189.17)
11.Operating-Disbursements               12/19/2019   check 29407 - GST Holdings                       ($3,768.56)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00     ($3,768.56)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($3,768.56)
11.Operating-Disbursements               12/20/2019   check 29408 - Jose Riojas                        ($2,850.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00     ($2,850.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($2,850.00)
11.Operating-Disbursements               12/27/2019   check 29410 - Hofstadter Analytical Services     ($1,056.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00     ($1,056.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($1,056.00)
11.Operating-Disbursements               12/30/2019   check 29411 - LegalShield                           ($90.60)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($90.60)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($90.60)
11.Operating-Disbursements               12/30/2019   check 29412 - Paul McClellan                         ($4.77)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00         ($4.77)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00       ($4.77)
11.Operating-Disbursements               12/24/2019   check 29413 - City of Tucson                        ($50.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($50.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($50.00)
11.Operating-Disbursements               12/23/2019   check 29414 - Mark Fink                              ($6.66)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00         ($6.66)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00       ($6.66)
11.Operating-Disbursements               12/23/2019   check 29415 - Jon Herlocker                         ($20.11)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($20.11)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($20.11)
14.Transfers-to-Other-Accounts            12/2/2019   Online Tranfer to payroll account               ($19,436.53)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00    ($19,436.53)        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00 ($19,436.53)
11.Operating-Disbursements                12/3/2019   ACH Debit - ESG Corp                               ($891.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00       ($891.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00    ($891.00)
14.Transfers-to-Other-Accounts           12/10/2019   Online Tranfer to taxes account                  ($9,091.32)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00      ($9,091.32)       $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($9,091.32)
14.Transfers-to-Other-Accounts           12/10/2019   Online Tranfer to payroll account               ($27,622.19)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00    ($27,622.19)        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00 ($27,622.19)
11.Operating-Disbursements               12/11/2019   POS Purchase - Travelers Bond insurance            ($169.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00       ($169.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00    ($169.00)
11.Operating-Disbursements               12/11/2019   ACH Debit - ESG Operating                           ($72.90)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($72.90)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($72.90)
11.Operating-Disbursements               12/12/2019   ACH Debit - Unum                                   ($239.77)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00       ($239.77)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00    ($239.77)
11.Operating-Disbursements               12/12/2019   ACH Debit - Humana                               ($7,405.16)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00     ($7,405.16)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($7,405.16)
11.Operating-Disbursements               12/13/2019   ACH Debit - Paypal                                 ($140.38)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00       ($140.38)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00    ($140.38)
11.Operating-Disbursements               12/16/2019   POS Purchase - Anymeeting                           ($78.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($78.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($78.00)
11.Operating-Disbursements               12/16/2019   POS Purchase - Spideroak                            ($90.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($90.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($90.00)
11.Operating-Disbursements               12/16/2019   POS Purchase - Pantheon                            ($132.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00       ($132.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00    ($132.00)
11.Operating-Disbursements               12/16/2019   ACH Debit - Ascensus Trust Ret Plan              ($2,543.21)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00     ($2,543.21)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($2,543.21)
11.Operating-Disbursements               12/17/2019   ACH Debit - Optum Direct                             ($3.75)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00         ($3.75)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00       ($3.75)
11.Operating-Disbursements               12/17/2019   ACH Debit - UPS                                    ($126.10)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00       ($126.10)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00    ($126.10)
11.Operating-Disbursements               12/17/2019   ACH Debit - RAGA                                 ($2,405.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00     ($2,405.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($2,405.00)
11.Operating-Disbursements               12/18/2019   POS Purchase - Stmaps.com                           ($19.56)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($19.56)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($19.56)
11.Operating-Disbursements               12/18/2019   ACH Debit - BNY Mellon Ins. Prem                     ($1.95)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00         ($1.95)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00       ($1.95)
11.Operating-Disbursements               12/18/2019   ACH Debit - Chubb Ins. Prem                      ($5,861.45)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00     ($5,861.45)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($5,861.45)
11.Operating-Disbursements               12/23/2019   Alliance Analysis charges                          ($290.64)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00       ($290.64)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00    ($290.64)
11.Operating-Disbursements               12/23/2019   ACH Debit - Culligan                                ($29.78)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($29.78)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($29.78)
14.Transfers-to-Other-Accounts           12/24/2019   Online Tranfer to taxes account                  ($9,358.20)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00      ($9,358.20)       $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($9,358.20)
14.Transfers-to-Other-Accounts           12/24/2019   Online Tranfer to payroll account               ($28,235.78)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00    ($28,235.78)        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00 ($28,235.78)
11.Operating-Disbursements               12/26/2019   POS Purchase Quickbooks                             ($76.09)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($76.09)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($76.09)
11.Operating-Disbursements               12/26/2019   ACH Debit - UPS                                     ($72.41)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($72.41)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($72.41)
11.Operating-Disbursements               12/26/2019   ACH Debit - Ascensus Trust Ret Plan              ($2,543.21)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00     ($2,543.21)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($2,543.21)
2.Post-Petition-Accounts-Receivable       12/5/2019   incoming wire Ryan Owens                         $14,820.00              $0.00    $14,820.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  $14,820.00
3.Other-Receipts                          12/9/2019   less down payment                                ($7,410.00)             $0.00         $0.00    ($7,410.00)       $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($7,410.00)
3.Other-Receipts                          12/9/2019   Incoming Wire New Era                            $51,280.64              $0.00         $0.00    $51,280.64        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  $51,280.64
2.Post-Petition-Accounts-Receivable      12/10/2019   Mobile Deposit                                    $2,326.00              $0.00     $2,326.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00   $2,326.00
2.Post-Petition-Accounts-Receivable      12/10/2019   Mobile Deposit - Rudolph                         $12,550.00              $0.00    $12,550.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  $12,550.00
3.Other-Receipts                                      less down payment                                ($3,137.50)             $0.00         $0.00    ($3,137.50)       $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  ($3,137.50)
3.Other-Receipts                                      Refund of down payment                             ($950.00)             $0.00         $0.00      ($950.00)       $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00    ($950.00)
2.Post-Petition-Accounts-Receivable      12/10/2019   ACH Credit - DFAS                                $14,364.97              $0.00    $14,364.97         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  $14,364.97
2.Post-Petition-Accounts-Receivable      12/11/2019   Incoming Wire - STFC                              $7,450.00              $0.00     $7,450.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00   $7,450.00
2.Post-Petition-Accounts-Receivable      12/13/2019   incoming wire - Cornes                              $281.25              $0.00       $281.25         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     $281.25
2.Post-Petition-Accounts-Receivable      12/16/2019   Mobile Deposit                                   $12,400.00              $0.00    $12,400.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  $12,400.00
2.Post-Petition-Accounts-Receivable      12/16/2019   incoming wire - Lighting Innovation Group         $3,500.00              $0.00     $3,500.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00   $3,500.00
11.Operating-Disbursements                            wire fee                                            ($29.26)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($29.26)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($29.26)
2.Post-Petition-Accounts-Receivable      12/16/2019   incoming wire - UOTEK                            $18,633.75              $0.00    $18,633.75         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  $18,633.75
11.Operating-Disbursements                            wire fee                                            ($19.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($19.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($19.00)
2.Post-Petition-Accounts-Receivable      12/17/2019   incoming wire - Orafol Fesnel Optics              $3,500.00              $0.00     $3,500.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00   $3,500.00
11.Operating-Disbursements                            wire fee                                            ($21.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($21.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($21.00)
2.Post-Petition-Accounts-Receivable      12/19/2019   incoming wire - Cornes                            $1,931.25              $0.00     $1,931.25         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00   $1,931.25
2.Post-Petition-Accounts-Receivable      12/20/2019   incoming wire - Cornes                            $1,381.25              $0.00     $1,381.25         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00   $1,381.25
2.Post-Petition-Accounts-Receivable      12/23/2019   ACH Credit - DFAS                                $15,014.30              $0.00    $15,014.30         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  $15,014.30
2.Post-Petition-Accounts-Receivable      12/27/2019   incoming wire - Zernike                           $1,950.00              $0.00     $1,950.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00   $1,950.00
11.Operating-Disbursements                            wire fee                                            ($20.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($20.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($20.00)
2.Post-Petition-Accounts-Receivable      12/30/2020   mobile deposit                                      $500.00              $0.00       $500.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     $500.00
2.Post-Petition-Accounts-Receivable      12/30/2020   mobile deposit                                    $4,000.00              $0.00     $4,000.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00   $4,000.00
2.Post-Petition-Accounts-Receivable      12/30/2020   incoming wire - Vrije Universiteit Brussel        $3,500.00              $0.00     $3,500.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00   $3,500.00
11.Operating-Disbursements                            wire fee                                            ($20.00)             $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00        ($20.00)   $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00     ($20.00)
                                                                                                                               $0.00         $0.00         $0.00        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00          $0.00    $0.00    $0.00           $0.00        $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00        $0.00
Total                                                                                                  $22,501.20               $0.00   $118,102.77    $39,783.14        $0.00          $0.00      $0.00          $0.00        $0.00           $0.00    $0.00   -$41,640.69     $0.00    $0.00    -$93,744.02         $0.00       $0.00      $0.00        $0.00       $0.00        $0.00     $0.00       $0.00       $0.00  $22,501.20

1.Sales/Receipts
2.Post-Petition-Accounts-Receivable
3.Other-Receipts
4.Payments-from-Insiders
5.Transfers-From-Other-Accounts
6.Proceeds-from-Sales-of-Assets
7.Pre-Petition-Accounts-Receivable
8.Loans-and-Advances
9.Capital-Contributions
10.Cash-Withdrawals-and-Payments
11.Operating-Disbursements
12.Professional-Fees-excluding-reorg
13.Other-Disbursements
14.Transfers-to-Other-Accounts
15.Owner-Draws-and-Advances
16.Capital-Expenditures
17.Pre-Petition-Debt-Service-Payments
18.Post-Petition-Debt-Service-Payments
19.Reorg-Expenses-Attorney
20.ReorgExpenses-Accountant
21.Reorg Expenses-US Trustee Fees
22.Reorg Expenses-Court Fees
23.Other-Reorg-Expenses
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Summary of Cash Activity for All Accounts
Case Name:                                        Breault Research Organization Inc
Case Number:                                      4:19-bk-08754-BMW
Report Date:                                            12/31/19
Exhibit E

                                                          Post-Petition Liabilities

  Who is owed the money?      Date Incurred          Purpose of the Debt              When Due

UPS Supply chain                 08/01/19     duties/taxes for customer shipment       8/11/19
ADP LLC                       12/20/2019                  payroll fees             01/09/2020
Jose Riojas                   12/17/2019               ES job consulting           01/16/2020
Jose Riojas                   12/17/2019               ES job consulting           01/16/2020
ADP LLC                       12/27/2019                  payroll fees             01/16/2020
UPS - United Parcel Service   12/21/2019                    shipping               01/20/2020
Culligan of Tucson            12/31/2019                 bottled water             01/20/2020
UPS - United Parcel Service   12/28/2019                    shipping               01/27/2020
Digi-Key Electronics          11/01/2019                ES job material

Line 24. Total Payables
apter 11




   Post-Petition Liabilities
                                        Amount Due to
                               Amount     Insiders

                               $1,212     disputed
                                 $41
                               $1,200
                                $480
                                $163
                                $158
                                 $22
                                $100
                               -$108

                               $3,268        $0
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Summary of Cash Activity for All Accounts
Case Name:                                     Breault Research Organization Inc
Case Number:                                4:19-bk-08754-BMW
Report Date:                                      12/31/19
Exhibit F

ACCOUNTS RECEIVABLE
Who Owes You the Money                             Trade       From Insiders    Total            Due Date   Comments
                                                                                 $0
Rudolph Technologies, Inc                           6,450.00                     6,450.00      12/29/2019
AUV Flight Services                                 1,173.25                   $1,173          12/30/2019
Thermofisher                                        3,500.00                   $3,500          1/10/2020
Flex-N-Gate Advanced Product                        7,000.00                     7,000.00      01/10/2020
Federal Signal Corporation                          5,500.00                     5,500.00      01/11/2020
Cornes Technologies Ltd                               281.25                       281.25      01/14/2020
UOTEK                                              17,703.75                    17,703.75      01/14/2020
Cornes Technologies Ltd                               368.75                       368.75      01/15/2020
ITC Inc                                             1,000.00                     1,000.00      01/15/2020
Joanneum Research Forschungsgesellschaft
GmbH                                                3,500.00                        3,500.00   01/15/2020
UOTEK                                              18,633.75                       18,633.75   01/17/2020
Hensoldt Optronics GmbH                             3,500.00                        3,500.00   01/18/2020
Cornes Technologies Ltd                               275.00                          275.00   01/22/2020
New Era Technology Inc:                            51,150.00                       51,150.00   01/23/2020
Theia Technologies                                  3,500.00                        3,500.00   01/25/2020
Cornes Technologies Ltd                             1,106.25                        1,106.25   01/26/2020
Cornes Technologies Ltd                               768.75                          768.75   01/26/2020
Cornes Technologies Ltd                               606.25                          606.25   01/27/2020
Cornes Technologies Ltd                               581.25                          581.25   01/29/2020
Cornes Technologies Ltd                               581.25                          581.25   01/29/2020
INTA/Lasing SA                                      7,000.00                        7,000.00   01/29/2020
Auction Tucson                                        534.43                          534.43   01/30/2020
SBIR                                                5,489.80                        5,489.80   01/30/2020
Rudolph Technologies, Inc:66537 - X500
Illumination, Design and Analysis                   1,875.00                        1,875.00   02/02/2020
Directional Lighting Systems LLC                    3,250.00                        3,250.00   02/02/2020
UOTEK                                              17,621.25                       17,621.25   02/03/2020
Cornes Technologies Ltd                               281.25                          281.25   02/13/2020
Cornes Technologies Ltd                               368.75                          368.75   02/14/2020
Cornes Technologies Ltd                               275.00                          275.00   02/21/2020
Cornes Technologies Ltd                             1,106.25                        1,106.25   02/25/2020
Cornes Technologies Ltd                               768.75                          768.75   02/25/2020
Cornes Technologies Ltd                               606.25                          606.25   02/26/2020
Lignex1 Co Ltd/Zernike International                2,625.00                        2,625.00   02/26/2020
Leonardo SpA - Selex ES/Finmecanica                 3,500.00                        3,500.00   02/26/2020
Zernike                                             5,250.00                        5,250.00   02/26/2020
Cornes Technologies Ltd                               581.25                          581.25   02/28/2020
Cornes Technologies Ltd                               581.25                          581.25   02/29/2020
Cornes Technologies Ltd                               281.25                          281.25   03/15/2020
Cornes Technologies Ltd                               368.75                          368.75   03/16/2020
Cornes Technologies Ltd                               275.00                          275.00   03/23/2020
Cornes Technologies Ltd                             1,106.25                        1,106.25   03/27/2020
Cornes Technologies Ltd                               768.75                          768.75   03/27/2020
Cornes Technologies Ltd                               606.25                          606.25   03/28/2020
Cornes Technologies Ltd                               581.25                          581.25   03/29/2020
Cornes Technologies Ltd                               581.25                          581.25   03/30/2020
Cornes Technologies Ltd                               281.25                          281.25   04/14/2020
Cornes Technologies Ltd                               368.75                          368.75   04/15/2020
Cornes Technologies Ltd                               275.00                          275.00   04/22/2020
Cornes Technologies Ltd                             1,106.25                        1,106.25   04/26/2020
Cornes Technologies Ltd                               768.75                          768.75   04/26/2020
Cornes Technologies Ltd                               606.25                          606.25   04/27/2020
Cornes Technologies Ltd                               581.25                          581.25   04/28/2020
Cornes Technologies Ltd                               581.25                          581.25   04/29/2020
Cornes Technologies Ltd                               281.25                          281.25   05/14/2020
Cornes Technologies Ltd                               368.75                          368.75   05/15/2020
Cornes Technologies Ltd                               275.00                          275.00   05/22/2020
Cornes Technologies Ltd                               768.75                          768.75   05/26/2020
Cornes Technologies Ltd                               606.25                          606.25   05/27/2020
Cornes Technologies Ltd                               581.25                          581.25   05/28/2020
Cornes Technologies Ltd                               581.25                          581.25   05/29/2020
Cornes Technologies Ltd                               281.25                          281.25   06/13/2020
Cornes Technologies Ltd                               368.75                          368.75   06/14/2020
Cornes Technologies Ltd                               275.00                          275.00   06/21/2020
Cornes Technologies Ltd                               768.75                          768.75   06/25/2020
Cornes Technologies Ltd                               606.25                          606.25   06/26/2020
Cornes Technologies Ltd                               281.25                          281.25   07/13/2020
Cornes Technologies Ltd                               368.75                          368.75   07/14/2020
Cornes Technologies Ltd                               275.00                          275.00   07/21/2020
Cornes Technologies Ltd   768.75   768.75   07/25/2020
Cornes Technologies Ltd   606.25   606.25   07/26/2020
Cornes Technologies Ltd   281.25   281.25   08/12/2020
Cornes Technologies Ltd   368.75   368.75   08/13/2020
Cornes Technologies Ltd   275.00   275.00   08/20/2020
Cornes Technologies Ltd   768.75   768.75   08/24/2020
Cornes Technologies Ltd   606.25   606.25   08/25/2020
Cornes Technologies Ltd   281.25   281.25   09/11/2020
Cornes Technologies Ltd   368.75   368.75   09/12/2020
                                       Breault Research Organization Inc
                                                         PROFIT AND LOSS
                                                             December 2019


                                                                                                         TOTAL
Income
 401000 ES Revenue                                                                                     91,204.10
 421100 SOFTWARE SALE - ASAP                                                                           20,695.00
 421900 Software Sale - Other                                                                               0.00
 424100 SOFTWARE MAINTENANCE-ASAP                                                                      54,629.44
 424125 Software Maintenance - APEX                                                                     1,854.14
 424900 Software Maintenance-Other                                                                       558.32
 429500 Software Sales Discounts                                                                       -5,535.41
 460200 Interest Income                                                                                     6.59
 460800 Other Income - Miscellaneous                                                                     534.43
Total Income                                                                                         $163,946.61
Cost of Goods Sold
 481000 Direct Labor                                                                                   17,630.79
 481500 Direct Fringe Benefits                                                                          2,662.78
 482000 Direct Material                                                                                    23.77
 482500 Direct Postage & Freight                                                                         348.90
 483100 Direct Consulting                                                                               7,280.00
 484500 Direct business Meals/Jobs COGS                                                                  180.00
Total Cost of Goods Sold                                                                              $28,126.24
GROSS PROFIT                                                                                         $135,820.37
Expenses
 501010 Administrative Labor                                                                           76,404.07
 501420 Vacation Time                                                                                   4,713.40
 502010 FICA-Social Security                                                                            5,006.57
 502020 FICA-Medicare                                                                                   1,339.79
 502180 SUTA Taxes - OR                                                                                    41.00
 502200 Workers Compensation                                                                             233.87
 502300 Health Insurance                                                                                6,347.27
 502400 Employee Benefit Insurance                                                                       102.76
 502500 Short Term Disability Insurance                                                                  137.77
 502990 Contra - Finge Benefits                                                                        -2,662.78
 513110 Commissions In-House                                                                             397.22
 513120 COMMISSIONS-OUTSIDE REPS                                                                       12,398.75
 513210 Advertising & Marketing                                                                          211.21
 521010 Travel - Transportation                                                                         2,237.36
 521110 Travel - Lodging                                                                                 317.45
 521210 Travel Meals                                                                                     128.74
 522210 General Liability Insurance                                                                     4,054.16
 523110 Building Lease/Rent                                                                             4,810.00
 525310 Depreciation - Equipment                                                                        1,518.18
 527910 Other Outside Services                                                                             40.00
 529210 Operating Supplies                                                                               140.55
 529310 Break Room supplies & Beverages                                                                    51.52
 531010 Bank Charges & Fees                                                                              534.90


                                      Accrual Basis Wednesday, January 15, 2020 08:22 AM GMT-07:00          1/2
                                                                                                    TOTAL
 531050 Postage                                                                                       25.06
 531310 Business Meals (non-sales)                                                                    20.11
 531820 Licenses & Fees                                                                            1,941.65
 531850 Utilities                                                                                   905.01
 531880 Sales & Use Tax                                                                               11.26
Total Expenses                                                                                  $121,406.85
NET OPERATING INCOME                                                                             $14,413.52
NET INCOME                                                                                       $14,413.52




                                 Accrual Basis Wednesday, January 15, 2020 08:22 AM GMT-07:00          2/2
